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16                             UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
18
   IN RE META PIXEL HEALTHCARE
19 LITIGATION
                                                        Case No. 3:22-cv-3580-WHO (VKD)
20 This Document Relates to:
                                                        PLAINTIFFS’ ADMINISTRATIVE
21                                                      MOTION TO CONSIDER
     All Actions.
                                                        WHETHER ANOTHER PARTY’S
22                                                      MATERIAL SHOULD BE SEALED
23
                                                        CLASS ACTION
24
                                                        The Honorable Virginia K. DeMarchi
25

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        PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                      PARTY’S MATERIAL SHOULD BE SEALED - 1
                           Case No. 3:22-cv-3580-WHO (VKD)
          Case 3:22-cv-03580-WHO           Document 676        Filed 11/04/24     Page 2 of 4



 1         Plaintiffs certify that they have reviewed and complied with the Court’s Standing Order
 2 on Administrative Motions to File Under Seal and Civil Local Rule 79-c. Pursuant to Civil Local

 3 Rule 79-5(c), and the Stipulated Protective Order entered by the Court on May 16, 2023 (ECF

 4 No. 242) Plaintiffs move for consideration of whether Defendant Meta Platforms, Inc.’s

 5 (“Meta”) materials should be sealed, in connection with the Joint Status Report regarding

 6 Protocol for Review and Production of Relevant Data Sources (Dkt. 614). Plaintiffs seek

 7 consideration of the Joint Administrative Omnibus Motion to Seal Dkt. Nos. 526, 526-1, 526-2,

 8 526-3, 526-4, 526-5, 545, 575, 597-1, 611, 619, 630-3, 630-5, 630-6, 630-7, 630-8, 630-9, 630-

 9 10, 630-11, 632, 633, 634, 663-3 that contains information designated as confidential by

10 Defendant Meta Platforms, Inc.

11                                  SIGNATURE ATTESTATION
12         The CM/ECF user filing this paper attests that concurrence in its filing has been obtained
13 from its other signatories.

14         RESPECTFULLY SUBMITTED AND DATED this 4th day of November, 2024.
15
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     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                   PARTY’S MATERIAL SHOULD BE SEALED - 4
                        Case No. 3:22-cv-3580-WHO (VKD)
